Case 1:08-cv-00008-KMW-MJS            Document 3183         Filed 03/26/14    Page 1 of 30 PageID:
                                            63414



  NOT FOR PUBLICATION

                             UNITED STATES DISTRICT COURT
                                DISTRICT OF NEW JERSEY


  IN RE: FOSAMAX (ALENDRONATE                         MDL No. 2243
  SODIUM): PRODUCTS LIABILITY                         Master Docket No. 08-08 (JAP)(LHG)
  LITIGATION
                                                                  OPINION
  THIS DOCUMENT RELATES TO:
  All Actions


  PISANO, District Judge

         This matter is presently before the Court on an Order to Show Cause (“OTSC”) issued on

  August 15, 2013 [docket #2895], directing the Plaintiffs listed in Appendix A of the Order

  (collectively referred to as “Plaintiffs”), to show cause why their pre-September 14, 2010, injury

  claims should not be dismissed on preemption grounds pursuant to this Court’s ruling in the

  Bellwether Glynn case. See Glynn v. Merck Sharp & Dohme, Corp., Case Nos. 11-503, 08-08, ---

  F. Supp. 2d ---, 2013 WL 3270387 (D.N.J. Jun. 27, 2013).

         In response to the OTSC, the Court received the following briefs from Plaintiffs: (1)

  Plaintiff Deborah Thompson’s Response to the OTSC [docket #2931]; (2) Plaintiff Helen

  Stampliakas’s Response to the OTSC [docket #2932]; (3) Plaintiff Elaine Howe’s Response to

  the OTSC [docket #17 on 11-6657] (4) Plaintiffs’ Adverse Reactions and Long-Term-Use

  Failure-to-Warn Brief (“Adverse Reactions Brief”) [docket #2995(1)]; (5) Plaintiffs’ Design-

  Defect and Other Non Failure to Warn Claims Brief (“Design Defect Brief”) [docket #2995(2)];

  (6) Plaintiffs’ Procedural Brief [docket #2995(3)]; and (7) Plaintiffs’ Warnings and Precautions

  Brief [docket #2995(4)].




                                                  1
Case 1:08-cv-00008-KMW-MJS                     Document 3183             Filed 03/26/14   Page 2 of 30 PageID:
                                                     63415



             Merck replied to Plaintiffs’ response to the OTSC and filed the following briefs in

  support of its position: (1) Reply to Plaintiff Helen Stampliakas's and Plaintiff Deborah

  Thompson's Responses to the Court's OTSC [docket #3030]; (2) Reply to Plaintiff Elaine Howe's

  Response to the Court's OTSC [docket #3041] (3) Reply to Plaintiffs' Adverse Reactions and

  Long-Term-Use Failure-to-Warn Brief (“Merck’s Adverse Reactions Brief”) [docket #3031]; (4)

  Reply to Plaintiffs' Design Defect and Other Non-Failure to Warn Claims Brief (“Merck’s

  Design Defect Brief”) [docket #3031(1)]; (5) Reply to Plaintiffs' Procedural Brief [docket

  #3031(3)]; and (6) Reply to Plaintiffs' Warnings and Precautions Failure to Warn Brief [docket

  #3031(2)].

             By way of brief background, Plaintiffs brought this lawsuit against Merck, the

  manufacturer of Fosamax, which is a drug approved by the United States Food and Drug

  Administration (“FDA”) for the treatment and prevention of osteoporosis. This matter is part of

  the multi-district litigation (“MDL”) concerning Fosamax and involves allegations that Fosamax

  causes atypical femur fractures (“AFFs1”), it caused Plaintiffs’ injuries, and Defendant failed to

  warn physicians about Fosamax causing AFFs. For the reasons set forth below, Plaintiffs’ have

  failed to show cause why their pre-September 14, 2010, injury claims should not be dismissed on

  preemption grounds. Preemption was dispositive of Glynn and cuts across all pre-label change

  cases. Accordingly, Defendant is entitled to judgment as a matter of law on the Appendix A

  Plaintiffs’ claims.

             I.       OVERALL PROCEDURAL HISTORY

             In May 2011, the Judicial Panel on Multidistrict Litigation centralized in this Court a

  number of related actions brought by patients who suffered femur fractures or similar bone


  1
      The abbreviation of atypical femur fracture (singular) is “AFF.”


                                                              2
Case 1:08-cv-00008-KMW-MJS             Document 3183        Filed 03/26/14     Page 3 of 30 PageID:
                                             63416



  injuries after taking Fosamax [docket #30]. On July 14, 2011, the Court ordered a process for

  selection of three or four Early Trial Cases and directed a schedule for expert discovery [docket

  #113]. On November 14, 2012, the Court designated trial dates for the four Early Trial Cases,

  with the earliest, Glynn, set for April 8, 2013 [docket #1915]. General fact discovery closed on

  December 31, 2012, pursuant to Case Management Order No. 10 [docket #848].

           On January 15, 2013, Merck moved for summary judgment in Glynn on federal

  preemption grounds, arguing that the Plaintiffs’ claims were preempted because the FDA’s

  rejection of Merck’s proposed Precaution disclosing a risk of low-energy femoral shaft fracture

  from Fosamax use made it impossible for Merck to warn the Plaintiffs’ of that risk [docket # 25

  in 11-5304]. This Court heard oral argument on the federal preemption issue on March 8, 2013,

  and reserved decision until a trial record had been established. A jury trial took place in Glynn

  from April 8, 2013 to April 29, 2013. The parties then briefed the preemption issue three more

  times: a Rule 50(a) motion for judgment as a matter of law at the close of Plaintiffs’ case [docket

  # 198 in 11-5304]; a renewed Rule 50(a) motion at the close of all evidence [docket # 209 in 11-

  5304]; and a Rule 50(b) renewed motion for judgment as a matter of law [docket # 216 in 11-

  5304].

           On June 27, 2013, after considering all of the parties briefing, evidence, arguments, and

  the trial record, the Court granted Merck’s motion(s) and found that Plaintiff’s state law claim

  for failure to warn was preempted because clear evidence existed that the FDA would not have

  approved a stronger warning to the Fosamax label as of the date of Ms. Glynn’s injury. Glynn,

  2013 WL 3270387, at *1. On August 1, 2013, Merck then moved for an OTSC why the claims

  of all other Plaintiffs with injury dates prior to September 14, 2010, should not be dismissed

  pursuant to the Court’s preemption ruling in Glynn [docket #2857].           On August 5, 2013,



                                                   3
Case 1:08-cv-00008-KMW-MJS                   Document 3183            Filed 03/26/14   Page 4 of 30 PageID:
                                                   63417



  Plaintiffs’ submitted a letter brief opposing the entry of an OTSC [docket #2870], and Merck

  replied by letter on August 12, 2013 [docket #2881].                    The Court, observing that it had

  “afford[ed] the Plaintiffs’ Steering Committee . . . and Glynn’s counsel repeated opportunities to

  present their evidence” and that the Glynn ruling turned on issues common to all Plaintiffs,

  granted Merck’s motion on August 15, 2013 [docket #2895].

             As stated above, the parties submitted several briefs and filings in support of their

  responses to the OTSC. The Court will address each argument separately below.

             II.     BACKGROUND

                     A. History of the Fosamax Label Change

             In September 1995, the FDA approved Fosamax for the treatment of osteoporosis in

  postmenopausal women, and in April 1997, the FDA approved Fosamax for the prevention of

  osteoporosis in postmenopausal women. Since this time, Fosamax has remained FDA approved

  for the treatment and prevention of postmenopausal osteoporosis. On June 13, 2008, the FDA

  contacted Defendant and other bisphosphonate2 manufacturers and requested any investigations

  they conducted “regarding the occurrence of atypical fractures with bisphosphonate use,” any

  investigational plans, and “all hip and femoral fracture case reports” they received [docket #

  3032, Merck’s Preliminary Statement of Facts Relating to the Court’s Order to Show Cause

  (“Merck’s Statement of Facts”) ¶ 28]. The FDA also asked that Defendant and the other

  bisphosphonate manufacturers make an effort where possible “to clarify the fracture location and

  the duration of bisphosphonate exposure for all case reports.” Id. at ¶ 44. The FDA explained

  that it was “aware of reports regarding the occurrence of subtrochanteric hip fractures in patients

  using bisphosphonates” and was “concerned about this developing safety signal.” Id. at ¶ 43.



  2
      Fosamax belongs to a class of drugs known as bisphosphonates.

                                                           4
Case 1:08-cv-00008-KMW-MJS            Document 3183         Filed 03/26/14    Page 5 of 30 PageID:
                                            63418



         On July 18, 2008, Defendant responded to the FDA’s request and included summary

  tables of clinical and post-marketing data, clinical Council for International Organizations of

  Medical Sciences (“CIOMS”) reports, and post-marketing CIOMS reports. Id. at ¶ 47. The

  FDA’s review of this data as well as the data from other bisphosphonate manufacturers “did not

  show an increase in . . . [the risk of atypical subtrochanteric femur fractures] in women using

  these medications.” [docket #3035, Declaration of Karen A Confoy in Support of Merck’s

  Replies to Plaintiffs’ Briefs in Response to Court’s Order to Show Cause and in Support of

  Merck’s Preliminary Statement of Facts (“Confoy Dec.”), Ex. 73].

         On September 15, 2008, Defendant submitted a Prior Approval Supplement (“PAS”) to

  the FDA, proposing “to add language to both the Precaution[s] and Adverse Reactions/Post-

  Marketing Experience section[s] of the label to describe low-energy” subtrochanteric femoral

  fractures. Merck’s Statement of Facts, ¶ 73. Defendant explained that “[i]t is not possible with

  the present data to establish whether treatment with” Fosamax “increases the risk of [these] . . .

  low-energy subtrochanteric and/or proximal shaft fractures,” but because there is a temporal

  association between these fractures and Fosamax, Defendant thought that it was “important to

  include an appropriate statement about them in the product label.” Id. Defendant sought to add

  the following language to the Precautions section of the label:

                 Low-Energy Femoral Shaft Fracture
                 Low-energy fractures of the subtrochanteric and proximal femoral
                 shaft have been reported in a small number of bisphosphonate-
                 treated patients. Some were stress fractures (also known as
                 insufficiency fractures) occurring in the absence of trauma. Some
                 patients experienced prodromal pain in the affected area, often
                 associated with imaging features of stress fracture, weeks to
                 months before a complete fracture occurred. The number of
                 reports of this condition is very low, and stress fractures with
                 similar clinical features also have occurred in patients not treated
                 with bisphosphonates. Patients with suspected stress fractures
                 should be evaluated, including evaluation for known causes and

                                                   5
Case 1:08-cv-00008-KMW-MJS             Document 3183          Filed 03/26/14      Page 6 of 30 PageID:
                                             63419



                 risk factors (e.g., vitamin D deficiency, malabsorption,
                 glucocorticoid use, previous stress fracture, lower extremity
                 arthritis or fracture, extreme or increased exercise, diabetes
                 mellitus, chronic alcohol abuse), and receive appropriate
                 orthopaedic care. Interruption of bisphosphonate therapy in
                 patients with stress fractures should be considered, pending
                 evaluation of the patient, based on individual benefit/risk
                 assessment.

                 [Id. at ¶74].

  Additionally, Defendant proposed adding “low-energy femoral shaft fracture” to the Adverse

  Reactions/Post-Marketing Experience section of the label and the following statement to the

  Patient Package Insert: “Patients have experienced fracture in a specific part of the thigh bone.

  Call your doctor if you develop new or unusual pain in the hip or thigh.” Id.

         On April 15, 2009, an FDA representative e-mailed Defendant and stated that the label

  change to the Adverse Reactions/Post-Marketing Experience section of the label would be

  approved but the label change to the Precautions section would not be approved. Id. at ¶ 79. On

  May 22, 2009, the FDA formally responded to Defendant’s proposed label change,

  recommending that it add “low energy femoral shaft and subtrochanteric fractures” to the

  Adverse Reactions/Post-Marketing Experience section of the label; however, the FDA still did

  not approve the label change to the Precautions section. Id. at ¶ 80. Moreover, the FDA warned

  that Fosamax “may be considered to be misbranded under the Federal Food, Drug, and Cosmetic

  Act if [it is] . . . marketed with” these label changes “before [FDA] approval . . . .” Id.

         On July 2, 2009, Defendant submitted to the FDA a Changes Being Effected (“CBE”)

  supplement to add the FDA’s proposed language about femur fractures to the Adverse

  Reactions/Post-Marketing Experience section of the label, which was later approved. Id. at ¶ 81.

  On March 10, 2010, the FDA issued a Drug Safety Communication, in which it stated that “[a]t

  this point, the data that FDA has reviewed have not shown a clear connection between

                                                    6
Case 1:08-cv-00008-KMW-MJS            Document 3183        Filed 03/26/14      Page 7 of 30 PageID:
                                            63420



  bisphosphonate use and a risk of atypical subtrochanteric femur fractures” Merck’s Statement of

  Facts, ¶ 85. The FDA did state, however, that it was “working closely with outside experts,

  including members of the . . . American Society of Bone and Mineral Research Subtrochanteric

  Femoral Fracture Task Force, to gather additional information that may provide more insight into

  this issue.” Id.

          On September 14, 2010, the American Society for Bone and Mineral Research

  (“ASBMR”) published an article entitled Atypical Subtrochanteric and Diaphyseal Femoral

  Fractures: Report of a Task Force of the American Society for Bone and Mineral Research. Id.

  at ¶ 86. The report stated that although there is an association between long-term bisphosphonate

  use and AFFs, the association had not been proven to be causal. Id. The FDA responded to the

  report by issuing a Drug Safety Communication, in which it stated “[a]lthough it is not clear if

  bisphosphonates are the cause [of AFFs], these unusual femur fractures have been identified in

  patients taking these drugs.” Id. at ¶ 87. Regarding the ASBMR Task Force’s recommendation

  of a label change, the FDA stated that it “has assembled and is thoroughly reviewing all long

  term data available on the products, as well as all safety reports…” and would be “considering

  label revisions.” Id. (emphasis added).

          In October 2010, the FDA issued another Drug Safety Communication, informing that it

  would require all bisphosphonate manufacturers to add information on AFFs to the Precautions

  section of the drug labels and require a new Limitations of Use statement in the Indications and

  Usage section of the label because “these atypical fractures may be related to long-term . . .

  bisphosphonate use.” Id. at ¶¶ 88-89. It reiterated that it was still “not clear if bisphosphonates

  are the cause,” but noted that these “unusual femur fractures” may be related to long-term

  bisphosphonate use. Id. at ¶ 88. The FDA’s proposed labeling language noted that “[c]ausality



                                                  7
Case 1:08-cv-00008-KMW-MJS               Document 3183           Filed 03/26/14       Page 8 of 30 PageID:
                                               63421



  has not been established as these fractures also occur in osteoporotic patients who have not been

  treated with bisphosphonates.” Id. at ¶ 89. On January 11, 2011, Defendant submitted the

  agreed upon label changes to the FDA. Id.

          Currently, the Fosamax label includes the following language: “Atypical, low-energy, or

  low trauma fractures of the femoral shaft have been reported in bisphosphonate-treated patients.

  . . . Causality has not been established as these fractures also occur in osteoporotic patients who

  have not been treated with bisphosphonates. Atypical femur fractures most commonly occur

  with minimal or no trauma to the affected area.” [docket #2996, Declaration of Donald A.

  Ecklund (“Ecklund Dec.”), Ex. 9].

                  B. Glynn Ruling

          As noted above, before the Court in Glynn were several motions by Defendant3, all of

  which were premised on federal preemption. The issue in these motions was whether clear

  evidence existed that the FDA would not have approved a stronger warning to the Fosamax

  label, thereby warranting preemption of the Glynn Plaintiffs’ failure to warn claim. See Wyeth v.

  Levine, 555 U.S. 555 (2009). This Court heard oral argument on the preemption issue on March

  8, 2013, and reserved decision until a trial record had been established. See Fed. R. Civ. P. 78.

  A jury trial took place from April 8, 2013 to April 29, 2013, and the jury returned a verdict for

  Defendant, finding that Plaintiff Glynn did not prove that she experienced an AFF in April 2009

  by a preponderance of the evidence.

          On the day following the conclusion of the trial, the Court held an in-person status

  conference where it discussed the preemption issue and gave the Plaintiffs twenty-one (21) days

  3
   The motions before the Court in Glynn were: (1) Defendant’s Motion for Summary Judgment based upon Federal
  Preemption [docket # 25 in 11-5304]; (2) Defendant’s Motion for Judgment as a Matter of Law pursuant to Rule
  50(a) [docket # 198 in 11-5304]; (3) Defendant’s Renewed Motion for Judgment as a Matter of Law pursuant to
  Rule 50(a) [docket # 209 in 11-5304]; and (4) Defendant’s Renewed Motion for Judgment as a Matter of Law
  pursuant to Rule 50(b) [docket # 216 in 11-5304].

                                                       8
Case 1:08-cv-00008-KMW-MJS            Document 3183         Filed 03/26/14      Page 9 of 30 PageID:
                                            63422



  to submit “proposed fact findings that [were] based upon the record in opposition to” the

  preemption motions. [docket #250 in 11-5304, Hearing Tr., 19:24-20:1; April 30, 2013].

  Thereafter, on May 6, 2013, Defendant submitted its Renewed Motion for Judgment as a Matter

  of Law pursuant to Rule 50(b) [docket # 216 in 11-5304], arguing that the Glynn Plaintiffs’

  claims were preempted because Defendant submitted to the FDA all of the information relevant

  to a label change and tried to change the Precautions section of the label to include low-energy

  femoral fractures, but the FDA rejected this change. The Court agreed with Merck’s position

  and on June 27, 2013, granted Defendant’s motion(s). See Generally Glynn, 2013 WL 3270387.

                  C. Arriving at the OTSC

          With the history of Glynn as a backdrop, it is necessary to address the evolution of the

  preemption issue, how the case has gotten to the point of having an OTSC on the issue, and the

  fact that the parties have been aware of the potential global effects preemption could have on the

  entire MDL for at least two (2) years. Throughout the entire pre-trial, trial, and post-trial

  proceedings in Glynn, the Court made it clear that, prior to ruling on preemption, it wanted the

  parties to introduce any and all relevant evidence to the issue because of the effects it could have

  on the MDL as a whole. During this time – even prior to any motions being filed by Defendant –

  Plaintiffs’ were aware of the exact position that Merck took surrounding preemption, how Merck

  planned to raise this argument, and the fact that Merck believed preemption likely hinged on the

  date of a Plaintiff’s injury.

          Indeed, before Ms. Glynn was even selected as the Bellwether case for trial, the parties

  appeared before the Court on May 14, 2012, where counsel for Merck reiterated the fact that the

  date of injury was central to the analysis and advised the Court and Plaintiffs of Defendant’s

  position on preemption. [docket #1397, Hearing Tr., 13:25-14:2; 14:12-14:14; 15:16-15:19;



                                                   9
Case 1:08-cv-00008-KMW-MJS              Document 3183         Filed 03/26/14       Page 10 of 30 PageID:
                                              63423



  22:5-22:7; May 14, 2012 (“MR. MARSHALL: . . . I want to focus in on some of the labeling

  issues because they’re going to be very important in the case . . . [it’s] going to be a very

  important point in these cases because we will be raising a preemption argument . . . [t]hat

  defense will be raised as a substantive legal motion . . . [and] it will be based upon when the

  injury occurred . . . [a] key factor . . . is the timing of the injury. . . .”)]. Stated differently, for

  almost an entire year prior to the Glynn trial, Plaintiffs were aware of Defendant’s position on

  preemption, the fact that it would be raised by way of substantive motion and that such motion

  would be directly related to the timing of injury. Fact discovery closed seven (7) months

  thereafter and the preemption issue was then briefed four separate times.

          As the Glynn trial moved closer, the parties were advised of the Court’s desire to have

  any and all arguments and evidence relevant to preemption on the record. [docket #244 in 11-

  5304, Trial Tr., Vol. 9, 1885:7–1885:12; April 22, 2013 (“THE COURT:. . . I have indicated my

  intention to ultimately rule on that [preemption] motion after I’ve had the benefit of a complete

  trial record . . . I think I’m correct that a full trial record would benefit me and both sides before a

  ruling is made.”)]. Further, after the close of Plaintiff’s case in the Glynn trial, Plaintiffs were

  again made aware of the exact position Merck took with respect to the evidence set forth and the

  issues Merck planned to again raise surrounding preemption. Id. at 1908:12 – 1908:17 (“MR.

  MARSHALL: . . . The FDA had in its possession all of the information that plaintiffs now rely

  upon to say that a label change could be made. We tried to do it, it was rejected. We are

  precluded, prevented from doing it. That, your Honor, is the preemption argument.”). Despite

  Merck’s contention that no dispute of fact existed for the jury to decide, the Court continued to

  reserve its decision on the preemption motion(s) to ensure a full trial record was established with

  all evidence relevant to the issue.



                                                     10
Case 1:08-cv-00008-KMW-MJS          Document 3183        Filed 03/26/14     Page 11 of 30 PageID:
                                          63424



         Immediately following the trial on April 30, 2013, the parties appeared before the Court

  to discuss the process of moving the MDL forward and, again, the Court reiterated that it has

  been urging Plaintiffs to come forward with any and all evidence on the preemption issue, as the

  parties all agreed that it would have widespread implications on the MDL as a whole:

                        MR SEEGER: . . . I’m thinking that the preemption
                issue because it’s going to cut across all 3,000 cases. Pretty
                much if it goes the wrong way for plaintiffs, it’s pretty much
                the end of the litigation.
                                                     ...
                        THE COURT: There have been three iterations of the
                preemption motion and my position all along was to make – that
                I wanted to be sure, first of all, that I had a complete record
                from which to decide the preemption issue. And I thought the
                best way to do that was to try the Glynn case, because that was the
                case that was coming in, knowing that there was going to be
                evidence introduced which would bear upon Merck’s conduct
                with the FDA and whether there would be clear evidence that
                [the] FDA would not have permitted the label change, which is
                what Merck has to show under Wyeth v. Levine.
                                                     ...
                        I don’t know what more you want to put in the record. I
                invited you, I invited the plaintiffs and I was urging the
                plaintiffs to put in what there could be bearing on the question.
                I don’t know what else there is.
                                                     ...
                        The issue in the case is whether there’s anything in the
                regulatory record from which the Court would conclude that
                it’s clear the FDA would not have permitted the label change.
                Now, the label change was an issue in the Glynn case. It was an
                issue in the Glynn case that was addressed by Dr. Blume, it was
                addressed by Dr. Madigan and it certainly was addressed by Dr.
                Santora and Daifotis.
                        I’m not so sure there’s anything else and if there was
                something else, I have been begging for it.
                                                     ...
                        . . . It was clear to me and everybody else that there was
                substantial consequences to this motion. We've had a hundred
                conversations, all of us, since then where I have been saying the
                same thing, namely, that I wanted -- that it was important to
                decide this case, this issue one way or another so that there
                could be some appellate review and we get a sense of it,
                because we know we're holding 3300 cases hostage.

                                                11
Case 1:08-cv-00008-KMW-MJS           Document 3183         Filed 03/26/14     Page 12 of 30 PageID:
                                           63425




  [docket #250 in 11-5304, Hearing Tr., 5:10-5:13; 6:10-6:19; 7:13-7:17; 16:6-16:14; 18:15-18:21;

  April 30, 2013 (emphasis supplied)].

         Similarly, after the Court granted Merck’s preemption motion(s) in Glynn, the parties

  appeared before the Court on July 18, 2013, to again address, among other things, how the

  preemption issue would be treated going forward and the fact that preemption would cut across

  all of the cases in the MDL:

                        THE COURT: I think it’s an accurate statement, Mr.
                 Morris, that I have been consistent in asking the plaintiffs to
                 come forward with any evidence that would bear upon that
                 preemption decision and I didn’t decide it until I was satisfied
                 that there had been a full opportunity to be heard on the
                 question and the opinion stands for itself.
                                                      ...
                        This business about all the plaintiffs having their own
                 claims and their own injuries and their own doctors is all very well
                 and fine and that’s true, but the focus from the preemption issue,
                 the focus is more on Merck than on the plaintiffs.
                                                  ...
                        THE COURT: . . . [W]hat I would expect then is there to be
                 some sort of an effort by Merck to close the door on these cases.
                        MR. MORRIS: Right, we expected that. . .

  [docket #2998, Hearing Tr., 10:3-10:8; 10:16-10:20; 11:8-11:10; July 18, 2013 (emphasis

  supplied)].

         As a review of the record reveals, the preemption issue has existed since this MDL’s

  inception and preemption has almost certainly been the forefront of the litigation for the past two

  (2) years. It has never been a secret as to what Merck’s position is with respect to preemption,

  and Plaintiffs have long been aware that their case(s) may depend entirely on the date of injury.

  Further, as referenced above, for the past two (2) years the parties and the Court have been

  operating under the common understanding that this Court’s decision on preemption could

  impact the entire MDL. Stated differently, Plaintiffs and Defendant knew that while the motions

                                                  12
Case 1:08-cv-00008-KMW-MJS            Document 3183         Filed 03/26/14      Page 13 of 30 PageID:
                                            63426



  before the Court in Glynn were specific to the date of Ms. Glynn’s injury, the Court’s decision

  on such motions would almost certainly have an effect on a substantial amount of Plaintiffs other

  than Ms. Glynn. Thus, the Court purposely reserved deciding the issue to ensure that any and all

  facts relevant to preemption would appear on the record. In doing so, the Court repeatedly urged

  Plaintiffs to come forward with all evidence bearing on preemption, allowed the parties several

  opportunities to brief the issue, entertained oral argument on the motion(s), conducted an entire

  trial which invited any evidence relevant to preemption, and addressed the issue at various

  hearings. Then, after finally ruling on preemption in Glynn, the Court issued an OTSC – giving

  the parties yet another opportunity to brief the issue – to address what has long been known as a

  predominant issue in the case: namely, what effect does the Court’s preemption ruling have on

  the other Plaintiffs whose injuries occurred prior to the date of the label change?

         III.    DISCUSSION

         A.      Procedural Arguments

         The parties each submitted briefing on the procedural aspects of the Court’s OTSC in the

  context of an MDL. Plaintiffs’ and Defendant concede that Rule 56 provides the proper standard

  for the Court’s analysis here; however, the parties disagree over the burden shifting, as well as

  the Court’s ability to utilize an OTSC to apply the Glynn ruling to other Plaintiffs. This Court

  agrees with the parties’ contention that Rule 56 provides the exclusive mechanism by which the

  Court can resolve the dispositive issues presented by Merck’s preemption defense before trial(s).

                 i.      Procedural Analysis

         The Court must first address the proper standard to be applied pursuant to Rule 56 as well

  as where the appropriate burden lies in this OTSC context. Under Rule 56, summary judgment is

  applicable when the Court is satisfied that there is no genuine issue of material fact and the



                                                   13
Case 1:08-cv-00008-KMW-MJS                  Document 3183             Filed 03/26/14         Page 14 of 30 PageID:
                                                  63427



  evidence establishes the moving party’s entitlement to judgment as a matter of law. See Celotex

  Corp. v. Catrett, 477 U.S. 317, 323, 106 S. Ct. 2548, 2553 (1986). “If the moving party meets

  the initial burden of establishing that there is no genuine issue, the burden shifts to the

  nonmoving party to produce evidence of a genuine issue for trial.” Degrange v. W., 196 F.

  App'x 91, 93 (3d Cir. 2006).

           This Court agrees with Merck’s contention that Defendant’s initial burden pursuant to

  Rule 56 has already been met by way of the briefing in Glynn. As stated above, Merck briefed

  the preemption issue four (4) separate times and in doing so, met its burden of establishing that

  there is no genuine issue(s) of fact with respect to preemption. This is further evidenced by the

  Court’s judgment as a matter of law in favor of Merck, holding that clear evidence exists that the

  FDA would not have approved a stronger warning prior to the date of Ms. Glynn’s injury.4 See

  Generally Glynn, 2013 WL 3270387. Thus, Merck has demonstrated the absence of any genuine

  issue of material fact surrounding preemption and the burden is therefore shifted to Plaintiffs to

  produce a genuine issue for trial by way of their briefing in response to the Court’s OTSC.




  4
    It should be noted, however, that despite the Glynn ruling being specific to Ms. Glynn and the date of her injury,
  Merck’s briefing in Glynn is still relevant to all Plaintiffs’ identified in this Court’s OTSC because the briefs in
  Glynn centered generally on when clear evidence existed that the FDA would not have approved a label change. See
  Defendant Merck Sharp & Dohme Corp.’s Memorandum of Law in Support of Motion for Summary Judgment
  Based upon Federal Preemption, p. 18 [docket #25 in 11-5304] (“. . . [I]t was not until the ASBMR report was
  issued in September 2010, reporting that bisphosphonates, when used long-term, may be related to femoral fractures,
  that the FDA determined available scientific evidence supported a Precaution.”); Defendant Merck Sharp & Dohme
  Corp.’s Memorandum of Law in Support of its Motion for Judgment as a Matter of Law, p. 2, 18 [docket #198 in 11-
  5304] and Defendant Merck Sharp & Dohme Corp.’s Memorandum of Law in Support of its Renewed Motion for
  Judgment as a Matter of Law, p. 1, 12 [docket #209 in 11-5304] (“[Plaintiff’s] claims would be preempted because
  Merck proposed . . . such a Precaution and the FDA rejected it . . . such a rejection is “clear evidence” that the FDA
  would have rejected any warning about fractures . . .” and “Dr. Blume testified clearly and repeatedly . . . that a
  pharmaceutical company’s duty to change its label to warn of an adverse event does not arise until there is
  ‘reasonable evidence of a causal association’ under 21 C.F.R. § 201.57”); Merck Sharp & Dohme Corp.’s Reply in
  Support of Rule 50(B) Motion for Judgment as a Matter of Law, pp. 5-6 [docket #230 in 11-5304] (“Simply put: the
  change in the FDA’s approach between 2008 and 2010 did not result from a change in FDA policy with respect to
  line-editing proposed warnings . . . Rather, it resulted from an evolution in the FDA’s views about the science
  relating to atypical femur fractures, which did not crystallize until late 2010.”).

                                                           14
Case 1:08-cv-00008-KMW-MJS                  Document 3183             Filed 03/26/14         Page 15 of 30 PageID:
                                                  63428



           Plaintiffs’ assert that they have met this burden because subsequent to the Glynn ruling,

  there have been additional documents exchanged and additional expert testimony which creates a

  genuine issue of fact as to what Merck could have or should have done in connection with

  updating its label.5 However, what Merck could have or should have done is immaterial because

  we know what Merck did. Similarly, Wyeth v. Levine provides for preemption where there is

  clear evidence that the FDA would have rejected a label change, and again, we know that the

  FDA did reject it. Thus, any expert testimony relating to what Merck could have or should have

  done, and what the FDA would have done in response to the same, is purely speculation and does

  not rise to the level of being a genuine fact dispute. Allowing Plaintiffs the opportunity to

  present individual expert testimony would also defeat the efficiency of an MDL because

  Plaintiffs would go through expert after expert, and none of the testimony would change what

  actually transpired between Merck and the FDA.

           Further, the Court disagrees with Plaintiffs’ contention that their Seventh Amendment

  rights and the procedural protections safeguarded in Rule 56 are being circumvented. Plaintiffs’

  suggest that the preemption determination must be made by a fact finder; however, if this were

  the case, the Court’s preemption ruling in Glynn would be improper.6 This assertion is not

  convincing. Rather, as evidenced by the cases cited to by Plaintiffs, where there is no factual

  dispute surrounding a preemption determination, summary judgment is proper. See Boyle v.

  United Technologies Corp., 487 U.S. 500, 501, 108 S. Ct. 2510, 2513 (1988) (“If the evidence


  5
    Plaintiffs’ claim that “new evidence” presently before the Court includes Ex. 161 to the Declaration of Donald A.
  Ecklund, which was a statement from the FDA in December, 2010 about why it was rejecting the label change and
  that because the FDA struck out the term “stress fracture,” this Court cannot find that clear evidence exists that the
  FDA would have rejected a label change that did not use the “stress fracture” language. However, it should be noted
  that the December, 2010 statement from the FDA was before the Court in Glynn and therefore, this is not “new
  evidence” that the Court has not already considered in determining that no material fact dispute exists. See
  Declaration of Edward Braniff in Support of Plaintiff’s Opposition to Defendant’s Motion for Judgment as a Matter
  of Law, at Ex. 1 [docket #199 to 11-5304].
  6
    It should be noted that Plaintiff Glynn did not appeal this Court’s June 27, 2013, Order on preemption.

                                                           15
Case 1:08-cv-00008-KMW-MJS            Document 3183         Filed 03/26/14    Page 16 of 30 PageID:
                                            63429



  presented in the first trial would not suffice, as a matter of law, to support a jury verdict under

  the properly formulated [preemption] defense, judgment could properly be entered for

  respondent at once, without a new trial. It is unclear from the Court[s] of Appeals' opinion,

  however, whether it was in fact deciding that no reasonable jury could, under the properly

  formulated [preemption] defense, have found the petitioner on the facts presented, or rather was

  assessing on its own whether the defense had been established. The latter would be error, since

  whether the facts established the conditions for the [preemption] defense is a question for the

  jury.” (emphasis supplied)); Brown v. Earthboard Sports USA, Inc., 481 F.3d 901, 913 (6th Cir.

  2007) (“Should the movants fail to meet their burden . . . such as if a genuine issue of material

  fact exists regarding the claim's actual qualification for federal preemption, the matter must be

  determined by the factfinder.” (emphasis supplied)).

         Plaintiffs’ procedural protections and Seventh Amendment argument is no more than a

  reiteration of the summary judgment standard. As the Court has already stated, Merck met its

  burden of proving that no there is no genuine issue of fact surrounding preemption by way of the

  briefing and trial record developed in Glynn. As a result, Plaintiffs are being afforded the

  procedural protections of Rule 56, and this Court is neither violating their Seventh Amendment

  rights nor “deciding factual disputes.” Were the Court to determine that there is a genuine

  dispute of fact, it would deny summary judgment; however, in determining that there is no

  factual dispute, the Court is not thereby “deciding factual disputes.”

         Moreover, utilizing an OTSC to apply a prior legal ruling to other Plaintiffs in an MDL is

  hardly inappropriate as suggested by Plaintiffs. Rather, several MDL courts have used an OTSC

  to do just that. See In re Darvocet, Darvon & Propoxyphene Products Liab. Litig., 2012 WL

  3290145, at *1 and fn. 1 (E.D. Ky. Aug. 10, 2012)(“Here, the Court has previously determined



                                                  16
Case 1:08-cv-00008-KMW-MJS           Document 3183        Filed 03/26/14      Page 17 of 30 PageID:
                                           63430



  that product liability claims against Generic Defendants are preempted . . . [The Show Cause

  Order] directed all plaintiffs with claims against any Generic Defendant to show cause why those

  claims should not be dismissed pursuant to the Court’s Memorandum Opinion and Order

  Regarding Generic Defendants’ Motions to Dismiss.”); In re Allstate Ins. Co. Fair Labor

  Standards Act Litig., 2009 WL 3011042, at *1 (D. Ariz. Sept. 16, 2009)(“[I]n this MDL action . .

  . summary judgment would be granted in the defendants’ favor as to all claims of any Continuing

  Plaintiff who did not show cause in writing . . . explaining why the Court’s reasoning in the

  summary judgment order . . . which the Court entered in the . . . member case, should not be

  applied to him or her.”); In re Sulzer Hip Prosthesis & Knee Prosthesis Liab. Litig., 455 F. Supp.

  2d 709, 712-13 (N.D. Ohio 2006)(“In Moore, Sulzer moved for summary judgment on the

  ground that all of Moore's claims were preempted by federal law . . . In light of the Court's

  conclusion in Moore, Sulzer moved the Court to issue an Order requiring all similarly-situated

  plaintiffs . . . to show cause why their cases should not also be dismissed. The Court acquiesced

  to this request.”). In doing so, the Court is not applying a factual determination made in Glynn

  to the Plaintiffs identified in the OTSC, but a legal determination: namely, that there is clear

  evidence the FDA would have rejected a stronger Fosamax warning label, thereby preempting

  Plaintiffs’ claims.

          Further, the OTSC does not give an impermissible preclusive effect to the Glynn ruling

  because the Court is not automatically applying the holding in Glynn to other Plaintiffs. Instead,

  despite having been aware of the preemption issue for two (2) years, briefing the issue four (4)

  separate times, and conducting an entire trial whereby any evidence relevant to preemption could

  be introduced, the OTSC provides affected Plaintiffs another opportunity to identify genuine

  issues of material fact that would preclude summary judgment on their claims. Plaintiffs’ failure



                                                 17
Case 1:08-cv-00008-KMW-MJS            Document 3183         Filed 03/26/14      Page 18 of 30 PageID:
                                            63431



  to meet their burden pursuant to Rule 56 does not then equate to issue and/or claim preclusion.

  Plaintiffs’ contention that further factual and expert discovery should be afforded these Plaintiffs,

  and that each MDL Plaintiff is entitled to litigate the preemption issue, is similarly misguided.

  The Court has repeatedly advised Plaintiffs’ counsel to come forward with any and all evidence

  surrounding preemption; thus, the failure to properly gather factual and expert discovery prior to

  this OTSC is no fault other than Plaintiffs. Additionally, in making these discovery related

  arguments, Plaintiffs are improperly focusing on the relationship between the individual

  Plaintiffs and Merck; however, as the Court has explicitly stated on the record, the preemption

  analysis is entirely dependent on the relationship between Merck and the FDA.

         The Court is not convinced that, whether clear evidence exists that the FDA would have

  rejected a stronger warning label to Fosamax, has any relevance to the individual Plaintiff and

  his or her potential factual differences. Rather, the material fact relevant to the preemption

  determination and the OTSC does not differ amongst the Plaintiffs listed in Appendix A – an

  injury that occurred prior to September 14, 2010. Plaintiffs have failed to show how uncovering

  additional information on behalf of each individual Plaintiff would change the analysis or

  preclude summary judgment here and therefore an extension of discovery is not warranted. See

  Penn. Dep’t of Pub. Welfare v. Sebelius, 674 F.3d 139, 157 (3d Cir. 2012). Further, while the

  Court is sympathetic to the Plaintiffs and their respective injuries, to give each of the Plaintiffs

  identified in the Courts OTSC their “own day in court” to litigate a legal issue that has already

  been conclusively determined would not only be a waste of judicial resources but would be

  contradictory to the premise of pre-trial motions and summary judgment. While Ms. Glynn had

  her “day in court,” such was for the purpose of developing a complete trial record on the




                                                   18
Case 1:08-cv-00008-KMW-MJS                  Document 3183             Filed 03/26/14         Page 19 of 30 PageID:
                                                  63432



  preemption issue; however, the Court need not have several hundred trial records, with the same

  evidence, to decide the very same issue.

           As Merck correctly points out, this case is distinguishable from In re TMI Litig., 193 F.3d

  613 (3d Cir. 1999) amended, 199 F.3d 158 (3d Cir. 2000) because there, the Third Circuit

  concluded that the District Court “could not properly extinguish the substantive rights of the

  1,900 Non-Trial Plaintiffs merely because all of the cases had been consolidated . . . because the

  Non-Trial Plaintiffs were not even litigating their claims and not presenting arguments to the

  District Court.” Id. at 725 (emphasis supplied). Here, the Court is not merely applying its ruling

  in Glynn to Plaintiffs, but has repeatedly urged Plaintiffs to come forward with evidence as to

  why their claims are not preempted, is giving Plaintiffs another opportunity in the context of the

  OTSC to present arguments to the Court as to why their claims are not preempted, and is

  applying the Rule 56 standard in doing so.

           The Court has consistently made clear that it expected Plaintiffs to present all of the

  pertinent evidence on the issue of preemption by the end of the Glynn trial. Thus, Plaintiffs’

  argument that they have been denied the opportunity to develop expert testimony relevant to the

  preemption issue is ill-advised. The Court is also satisfied that additional individualized factual

  discovery is unnecessary because the crux of the preemption inquiry focuses on the relationship

  between Merck and the FDA, and has nothing to do with the facts or injuries of the individual

  Plaintiffs.7 Stated differently, facts relating to each individual Plaintiff will not have any effect

  on whether Merck had a duty to warn, and testimony from individual experts regarding what

  Merck and the FDA could or would have done will not change what Merck and the FDA did.

  Accordingly, the Court finds that utilizing an OTSC to apply the Glynn ruling to those Plaintiffs’

  7
    Individualized discovery may be appropriate if the parties were disputing causation such as the Plaintiffs in TMI;
  however, the preemption analysis here is dependent on whether Merck had a state law duty to update its warning
  label.

                                                           19
Case 1:08-cv-00008-KMW-MJS            Document 3183        Filed 03/26/14      Page 20 of 30 PageID:
                                            63433



  whose injuries occurred prior to September 14, 2010, without allowing additional discovery is

  not improper.

          B.      Design Defect and Other Non-Failure to Warn Claim Arguments

          The parties each submitted briefing with respect to whether the Court should utilize the

  OTSC to apply the Glynn preemption ruling to Plaintiffs’ design defect and other non-failure to

  warn claims. In support of their position, Plaintiffs’ argue that the Court’s preemption ruling in

  Glynn only applied to a state law failure to warn claim and therefore did not address, and cannot

  be applied to, state law claims for design defect, negligence, fraud, breach of warranties,

  consumer protection/deceptive trade practices, and unjust enrichment.      Specifically, Plaintiffs’

  argue that these claims do not “emanate from a general theory that Merck failed to provide an

  adequate warning about the risk of atypical femur fractures” and therefore, Defendant has not

  met its Rule 56 burden to obtain summary judgment on these claims. See Plaintiffs’ Design

  Defect Brief, at p. 8.

          i.      Design Defect and Other Non-Failure to Warn Claim Analysis

          As discussed in the procedural analysis, Merck’s Rule 56 burden surrounding preemption

  was met by way of the briefing in Glynn. Plaintiffs’ contention that applying the Glynn ruling to

  design defect and other non-failure to warn claims would improperly relieve Merck of its burden

  to show that it is entitled to judgment on such claims is, in the abstract, persuasive. Importantly,

  however, Plaintiffs’ design defect and other non-failure to warn claims are based entirely on the

  premise that Fosamax had risks which should have been disclosed to consumers. Thus, these

  claims rise and fall with a claim for failure to warn and utilizing an OTSC to preempt Plaintiffs’

  design defect and other non-failure to warn claims based on this Court’s ruling in Glynn is not

  improper. See Cooper v. Bristol-Myers Squibb Co., 2013 WL 85291, at *9 (D.N.J. Jan. 7,



                                                  20
Case 1:08-cv-00008-KMW-MJS             Document 3183         Filed 03/26/14      Page 21 of 30 PageID:
                                             63434



  2013)(“Therefore, having already determined that Plaintiff is unable to establish any triable issue

  with respect to his failure-to-warn claim, Plaintiff's design claim correspondingly fails.”); Begley

  v. Bristol-Myers Squibb Co., 2013 WL 144177, at *9 (D.N.J. Jan. 11, 2013)(“. . . [A] product

  bearing an adequate warning is not in [a] defective condition, nor is it unreasonably dangerous . .

  . Hence, Plaintiff's defective design claim fails because she has not demonstrated that the

  [product’s] warning was inadequate.” (internal citations omitted)); Stafford v. Wyeth, 411 F.

  Supp. 2d 1318, 1320 (W.D. Okla. 2006)(granting summary judgment to Defendant where

  plaintiff failed to establish that Defendant’s failure to warn was the proximate cause of her injury

  and plaintiff’s non-failure to warn claims, including negligence and design defect, “all hinge on

  defendant’s alleged failure to warn.”); Chatman v. Pfizer, Inc., 2013 WL 1305506, at *4 (S.D.

  Miss. Mar. 28, 2013) (“. . . [T]he national consensus is that [plaintiff’s] other claims are poorly

  camouflaged failure-to-warn claims, and therefore most courts have rebuffed plaintiffs' attempts

  to recover under alternative state-law theories of liability including negligence and fraud. . . If

  [plaintiff’s] remaining claims are disguised failure-to-warn claims, then they are unquestionably

  subject to [the failure to warn] preemption analysis” . . . Further, “[t]here can be no doubt that

  [plaintiff’s design defect] claims are [also] based on the inadequacy of the warning she was

  given, and therefore these claims are subject to [preemption] . . .” (internal citation omitted)).

         Plaintiffs’ contend that neither their negligent design defect nor strict liability design

  defect claims sound in failure to warn, but that fact questions exist as to whether Fosamax was

  unreasonably dangerous, or whether Merck was negligent in failing to conduct adequate testing

  and use due care in the design and manufacture of Fosamax. In support of this argument,

  however, Plaintiffs’ advance only a summary of the law and tests that may be applied to

  determine if a product is defectively designed but offer no law as to which test applies here and



                                                   21
Case 1:08-cv-00008-KMW-MJS            Document 3183        Filed 03/26/14      Page 22 of 30 PageID:
                                            63435



  no facts and/or evidence to show that Fosamax was in fact defectively designed or that Merck

  acted negligently. Further, aside from the pleadings, this appears to be the first time in a six (6)

  year-long litigation, after a two (2) year focus on preemption, discovery, numerous briefs on the

  preemption issue and an entire trial worth of evidence, that Plaintiffs’ believe Fosamax was

  defectively designed or that Merck was negligent in conducting testing of the drug. The entire

  MDL has centered on Merck’s conduct in failing to update Fosamax’s warning label.

         To this end, Plaintiffs’ make a conclusory statement that their complaints have “typically

  alleged” facts in support of their non-failure to warn, strict liability and negligence based design

  defect claims, but offer no facts as to which, or how many Plaintiffs have in fact pled such

  claims. Plaintiffs’ are conflating the standard to withstand a Federal Rule of Civil Procedure

  12(b)(6) motion to dismiss with the standard to be applied here, which is that of a Rule 56

  motion for summary judgment. Surely, Plaintiffs general description of what some complaints

  “typically allege” may constitute plain statements showing that Plaintiffs are entitled to relief,

  see Bell Atl. Corp. v. Twombly, 550 U.S. 544, 557, 127 S.Ct. 1955 (2007); however, meeting the

  threshold requirement of Rule 12(b)(6) is hardly sufficient to defeat Merck’s showing that it is

  entitled to judgment as a matter of law on preemption grounds.

         Indeed, Merck has met this burden. Plaintiffs’ design defect and other non-failure to

  warn claims are merely disguised failure to warn causes of action, which is evidenced by the

  pleadings that Plaintiffs attach as exhibits in response to the OTSC and the fact that the entire

  litigation, focus of the parties’ discovery, and evidence put before the Court has been based

  entirely on Fosamax’s warning. In fact, one of the complaints cited to by Plaintiffs in support of

  the argument that the design defect claims are independent of the warning specifically states that

  “Fosamax, as researched, tested, developed, designed, licensed, manufactured, packaged,



                                                  22
Case 1:08-cv-00008-KMW-MJS                 Document 3183           Filed 03/26/14         Page 23 of 30 PageID:
                                                 63436



  labeled, distributed, sold and marketed by Defendant was defective due to inadequate warnings

  and instructions.” See [docket #2996, Ecklund Dec., Ex. 167 at ¶ 97 (emphasis supplied)].

  Plaintiffs have not alleged that Fosamax’s chemical composition could have been changed, but

  rather, that the product was unreasonably dangerous because it was not accompanied by a proper

  warning.     Similarly, Plaintiffs’ negligent design defect claims allege that Merck failed to

  properly test the drug, and had Merck exercised due care in testing the product, Fosamax’s label

  would have been updated sooner. Again, however, these contentions are nothing more than

  speculation and while Plaintiffs’ design defect and other non-failure to warn arguments begin by

  focusing on the product and/or Merck’s conduct on the front end, they conclude by focusing on

  how the consequence – the label – may have been different as a result. See Estate of Popolizio v.

  Ford Motor Co., 2013 U.S. Dist. LEXIS 79361, at *5-6 (D.N.J. June 5, 2013)(“the non-moving

  party cannot rely on unsupported assertions, bare allegations, or speculation to defeat summary

  judgment.”).

          The Court also disagrees with Plaintiffs’ contention that state law design defect claims

  cannot be preempted under the federal Food, Drug, and Cosmetic Act (“FDCA”). Plaintiffs

  make this assertion by stating that every Federal Circuit Court to address whether the FDCA

  preempts design defect claims has found no preemption; however, instead of providing the Court

  with an analysis of how, or if, the cases are even applicable to the facts here, Plaintiffs merely

  list the case names and citations. As Merck correctly points out, the cases cited to by Plaintiffs

  are distinguishable from the instant matter and therefore, carry little weight with respect to

  whether Plaintiffs’ design defect claims can be preempted.8


  8
    In Desiano v. Warner-Lambert & Co., 467 F.3d 85 (2d Cir. 2006), the Second Circuit held that because Plaintiff’s
  state law causes of action merely required some proof of fraud on the FDA but such proof was not conclusive, the
  Supreme Court’s holding in Buckman Co. v. Plaintiffs’ Legal Comm., 531 U.S. 341, 121 S. Ct. 1012 (2001) that all
  fraud on the FDA claims are preempted did not apply to automatically preempt Plaintiff’s state law claims which

                                                         23
Case 1:08-cv-00008-KMW-MJS                   Document 3183             Filed 03/26/14          Page 24 of 30 PageID:
                                                   63437



           Accordingly, because Plaintiffs’ design defect and other non-failure to warn claims are

  entirely based, and ultimately hinge, on the adequacy of Fosamax’s warning, these claims are

  preempted and must fail as a matter of law. Regardless of what state law applies to each

  Plaintiff’s individual design defect and other non-failure to warn claims, Merck simply cannot be

  liable for not having a warning on its product that was rejected by the FDA as of the date of a

  Plaintiff’s injury. Because the Court has already found that pursuant to Wyeth v. Levine, clear

  evidence exists that the FDA would have rejected a stronger warning label, and the crux of

  Plaintiffs’ design defect and non-failure to warn claims is the adequacy of the warning,

  Defendant is entitled to summary judgment on these claims.




  only incidentally involved fraud. The Court in Desiano did note that state based tort liability falls within a state
  legislature’s prerogative to regulate matters of health and safety and therefore, a presumption against preemption
  should apply; however, the Court went on to state that “there may be reasons to override that presumption [against
  preemption].” See Desiano, 467 F.3d at 94. Here, however, the Court is not applying preemption based on a fraud
  on the FDA theory to automatically preempt Plaintiffs’ remaining claims that incidentally relate to fraud but rather,
  after giving Plaintiffs’ an opportunity to be heard, is applying preemption based on a failure to warn ruling to
  preempt Plaintiffs’ remaining claims that are based entirely on this same theory.
            Abbot by Abbot v. Am. Cyanamid Co., 844 F.2d 1108 (4th Cir. 1988) is similarly distinguishable to the
  instant matter because there, the Court was faced with a preemption analysis specific to vaccines. Notably, as the
  Abbot Court pointed out, Congress expressly dealt with vaccines in 1986 and 1987 and did not preempt state law;
  thus, the legislative intent surrounding vaccines weighed against preemption. Further, the Court’s holding
  ultimately stands for the proposition that preemption is not automatic, as the Court stated that “[p]reemption does
  not follow immediately from the comprehensive federal regulation of prescription biological products. Every subject
  that merits congressional legislation is, by definition, a subject of national concern. That cannot mean, however, that
  every federal statute [automatically] ousts all related state law.” Id. at 1112 (emphasis supplied)(internal citation
  omitted). The other cases cited to by Plaintiffs’ reach a similar conclusion when dealing with vaccines. See Hurley
  v. Lederle Labs. Div. of Am. Cyanamid Co., 863 F.2d 1173, 1178 (5th Cir. 1988)(“. . . we believe that any case for
  preemption is doomed by the National Childhood Vaccine Injury [“NCVI”] Act of 1986.”); Graham by Graham v.
  Wyeth Labs., Div. of Am. Home Products Corp., 906 F.2d 1399, 1405 (10th Cir. 1990)(indicating that federal
  preemption does not automatically apply to bar plaintiff’s state tort law claims relating to an improperly
  manufactured vaccine just because such vaccine met the FDA’s minimum standards. (emphasis supplied)).
            Similarly Wimbush v. Wyeth, 619 F.3d 632 (6th Cir. 2010) dealt with whether state law claims relating to
  negligence by a defendant that occurred prior to FDA approval are preempted by the FDA’s subsequent approval of
  the drug. There, the Court specifically stated that it “hold[s] merely that FDA approval does not automatically
  preempt state law tort claims for negligence.” Id. at 646 (emphasis supplied). Further, the Court notes that, of all the
  cases cited to by Plaintiffs’ in support of their argument that design defect claims are not preempted by the FDCA,
  Wimbush is the only case that was decided after Wyeth v. Levine, 555 U.S. 555 (2009), and notably, Wimbush has
  the most narrow holding with respect to preemption.

                                                            24
Case 1:08-cv-00008-KMW-MJS                     Document 3183            Filed 03/26/14   Page 25 of 30 PageID:
                                                     63438



             C.         Adverse Reaction and Long-Term-Use Failure to Warn Arguments

             Plaintiffs argue that their failure to warn claims cannot be preempted because Glynn was

  specific to Merck’s failure to update the Precautions section of the Fosamax label, but that Merck

  has not met its burden to show clear evidence exists that the FDA would have rejected a change

  to the Adverse Reactions section of the label or a change relating to the long-term use/shifting

  risk-benefit profile of Fosamax. While Plaintiffs acknowledge that Merck did in fact update the

  Adverse Reactions section of the Fosamax label in June 2009, Plaintiffs argue that a genuine

  dispute of fact exists as to whether Merck could have updated the Adverse Reactions section of

  the label before that time.

                      i.       Adverse Reaction and Long-Term Use Analysis

             There are several issues surrounding Plaintiffs’ arguments. First, as stated above, Merck

  updated the Adverse Reactions section of its label in June, 2009. The OTSC has instructed

  Plaintiffs’ with injuries occurring prior to September 14, 2010, to show cause why their claims

  should not be preempted. Upon review of the Plaintiffs’ listed in Appendix A of the OTSC,

  nearly half of them have injuries which occurred between June, 2009 and September 14, 2010.

  Thus, to state that Plaintiffs’ failure to warn claims are not preempted because they are based on

  the Adverse Reactions section of the label and not the Precautions section is illogical. Rather,

  almost half of the Plaintiffs identified in the OTSC were injured when there was already an

  Adverse Reactions warning on the label9; therefore, the only plausible failure to warn claims

  available to such Plaintiffs would have to be based on the Precautions section.

             Second, to the extent that Plaintiffs’ injuries occurred prior to the June, 2009 Adverse

  Reactions label change, Plaintiffs assert that there is evidence showing that a fact question exists

  with regard to whether Merck should have updated this section of the label sooner. As an initial
  9
      Plaintiffs do not dispute the adequacy of the Adverse Reactions label.

                                                             25
Case 1:08-cv-00008-KMW-MJS            Document 3183         Filed 03/26/14       Page 26 of 30 PageID:
                                            63439



  matter, Plaintiffs do not plead this theory of liability in any of their complaints, nor have

  Plaintiffs set forth evidence indicating that any doctor would not have prescribed Fosamax if the

  occurrence of low-energy femoral shaft fractures had been mentioned in the Adverse Reactions

  section prior to 2009. Further, Plaintiffs’ argument is one that was already made – also at the last

  hour – in Glynn and, prior to trial, Plaintiffs asserted that the evidence would show that Merck

  should have acted sooner to report the information it was receiving about fractures to the FDA.

  Hearing Tr., 71:20-22; 72:8-10, March 8, 2013 (“MR. HONNOLD: The argument is, is the data

  was clearly there and the evidence will be Merck did not act upon it. . . it could have and should

  have been done differently based upon the information that Merck had in its possession and sat

  on and did nothing with.”)(emphasis supplied); see also Plaintiff’s Preemption Supplement in

  Opposition to Defendant’s Motion for Summary Judgment Based Upon Federal Preemption,

  Rule 50(a), and Rule 50(b) Motions [docket #218 at 11-5304] (“[T]here is considerable evidence

  demonstrating that Merck should have at a minimum updated the [A]dverse [R]eactions section

  of its label as early as 1999.”).

          This argument is again dependent on the communication of information between Merck

  and the FDA, and is of no consequence to the individual Plaintiff. Plaintiffs presented evidence

  on this issue during the Glynn trial and argued that such evidence proves that Merck should have

  acted sooner; however, this Court was not convinced.            The argument being presented by

  Plaintiffs now is no different than that which was already considered in Glynn because the

  evidence relevant to this claim is what Merck submitted to the FDA and such communications

  are the exact same regardless of which Plaintiff is before the Court. Thus, as in Glynn, the Court

  is still not convinced and Plaintiffs cannot recharacterize their failure to warn claims at this stage

  of the litigation as one involving the Adverse Reactions section of the label in order to overcome



                                                   26
Case 1:08-cv-00008-KMW-MJS            Document 3183        Filed 03/26/14      Page 27 of 30 PageID:
                                            63440



  the preemption issue. See In re Fosamax Prods. Liab. Litig. (Boles v. Merck & Co.), 2010 WL

  1257299, at *5 (S.D.N.Y. Mar. 26, 2010) (“[Plaintiff] cannot recharacterize her claim during trial

  in an effort to overcome the lack of evidence…”).

         Third, Plaintiffs’ risk-benefit argument surrounding the efficacy of Fosamax was also

  already considered in Glynn. The Court did not accept Plaintiffs’ efficacy argument in Glynn for

  the same reason it will not accept this argument here: the omission of efficacy information does

  not constitute a failure to warn about a drug’s risks and therefore, does not raise a genuine issue

  of material fact as to whether Plaintiffs’ failure to warn claims are preempted. See LaBarre v.

  Bristol-Myers Squibb Co., 2013 WL 6053840, at *4 (3d Cir. Nov. 18, 2013)(“In short, [the

  drug’s] efficacy is irrelevant to [Plaintiff’s] failure to warn claim, and the physicians’ purported

  lack of information about it is of no consequence to the adequacy of the warnings.”).

         In sum, Plaintiffs’ contention that the Adverse Reaction section of the label should have

  been updated prior to 2009, or that efficacy information should have been communicated on the

  Fosamax label, do not fall outside the scope of Glynn and the OTSC nor do they raise genuine

  issues of material fact with regard to whether clear evidence exists that the FDA would have

  rejected a label change. Accordingly, Plaintiffs’ failure to warn claim(s) are preempted.

         D.      Warnings and Precautions Failure to Warn Arguments

         Plaintiffs argue that their failure to warn claims are not preempted because

  communications from the FDA reflect that clear evidence does not exist as to whether the FDA

  would have rejected a warning that was accurately stated and properly supported by Merck. In

  support of this argument, Plaintiffs contend that Merck misstated the relevant risk in its PAS

  submission and the FDA’s rejection of Defendant’s proposed label is not clear evidence because

  the agency lacked information to make an informed judgment.



                                                  27
Case 1:08-cv-00008-KMW-MJS            Document 3183         Filed 03/26/14       Page 28 of 30 PageID:
                                            63441



                 i.      Warnings and Precautions Failure to Warn Analysis

         Plaintiffs’ argument that its claims are not preempted because clear evidence does not

  exist as to whether the FDA would have rejected a stronger warning to the Precautions section of

  the label is nothing more than an attempt to gain a second bite at the apple. Plaintiffs fail to raise

  any facts and/or arguments with regard to the Precautions section of the label that were not

  already considered and rejected by this Court. Plaintiffs assert that there is new evidence which

  was not before the Court in Glynn that changes the Precautions analysis; however, the “new

  evidence” provided by Plaintiffs is merely expert opinion on the very same evidence that existed

  in Glynn. Stated differently, while Plaintiffs were able to find an expert to agree with their

  contention that Merck should have acted differently with respect to updating the Precautions

  section of its warning, they did not set forth any evidence which suggests that the FDA thought

  the same. The evidence surrounding whether the FDA felt that a label change was necessary

  remains unchanged, and importantly, provides clear evidence that the FDA would have rejected a

  stronger Precautions warning because the FDA did reject a stronger Precautions warning. See

  Glynn, 2013 WL 3270387, at *7 (“the [fact that the] FDA never required Defendant to submit

  new language or change the label [ ] demonstrate[s] that the FDA did not think that the label

  should have been changed at that time.”).

         Plaintiffs further rely on this new expert opinion to argue that a fact question exists as to

  whether Merck should have warned about the risk of fractures associated with Fosamax by way

  of a CBE submission while the FDA decided on class labeling. Again, however, the Court

  already rejected this argument in Glynn and stated that “since the FDA rejected Defendant’s

  PAS, it would not have approved a CBE seeking to add the same language to the label that it just




                                                   28
Case 1:08-cv-00008-KMW-MJS           Document 3183         Filed 03/26/14     Page 29 of 30 PageID:
                                           63442



  rejected in the PAS, and any changes Defendant made using the CBE supplement would cause

  the drug to be misbranded.” Id. at *8.

         Moreover, to the extent that Plaintiffs claim that Merck withheld information from the

  FDA and clear evidence does not exist as to whether the FDA, if fully informed, would have

  rejected a stronger label, this does not defeat Defendant’s showing that it is entitled to judgment

  as a matter of law on preemption grounds. As an initial matter, Defendant disputes that it

  withheld information from the FDA; however, even assuming it did, Plaintiffs have failed to

  show that providing such information to the FDA would have changed the FDA’s conclusion

  that a Precaution was not warranted. Instead, Plaintiffs’ contention appears to be a fraud-on-the-

  FDA theory which was rejected by the Supreme Court in Buckman Co. v. Plaintiffs’ Legal

  Committee, 531 U.S. 341, 121 S. Ct. 1012, 148 L. Ed. 2d 854 (2001), or alternatively, is based

  largely on speculation and cannot defeat summary judgment. See Webster v. Pacesetter, Inc.,

  259 F.Supp.2d 27, 37 (D.D.C. 2003) (“Nor can plaintiffs create an issue of fact regarding their

  defective warning claim by speculating that if the FDA had known of the delayed perforation and

  tamponade incidents during the clinical trials and if defendant had investigated all the adverse

  incidents, the FDA would have either recalled the lead or placed it on alert.” (emphasis in

  original)); In re Trasylol Products Liab. Litig., 2010 WL 4259332 (S.D. Fla. Oct. 21, 2010)(“[An

  expert] may not speculate as to what the FDA would have done in hypothetical circumstances.”).

         Accordingly, Plaintiffs have failed to show that there is a genuine dispute of fact

  surrounding failure to warn claims based on the Precautions section of the label. Thus, these

  claims are preempted and Defendant is entitled to judgment as a matter of law.




                                                  29
Case 1:08-cv-00008-KMW-MJS          Document 3183       Filed 03/26/14     Page 30 of 30 PageID:
                                          63443



         IV.    CONCLUSION

         For the reasons outlined above, Defendant is entitled to judgment as a matter of law on

  all claims made by the Plaintiffs listed in Appendix A of the OTSC with injuries that occurred

  prior to September 14, 2010, because Plaintiffs have failed to show cause why their claims are

  not preempted under this Court’s ruling in Glynn. An appropriate Order accompanies this

  Opinion.


  Dated: March 26, 2014                                    /s/ Joel A. Pisano
                                                           JOEL A. PISANO, U.S.D.J.




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